      Third District Court of Appeal
                               State of Florida

                        Opinion filed August 21, 2024.
       Not final until disposition of timely filed motion for rehearing.

                            ________________

                             No. 3D23-0194
                        Lower Tribunal No. F20-425
                           ________________


                  Prisper Dorvil, a/k/a Prosper Dorvil,
                               Appellant,

                                     vs.

                           The State of Florida,
                                Appellee.



      An Appeal from the Circuit Court for Miami-Dade County, Ariana
Fajardo Oshan, Judge.

     Rier Jordan, P. A., and Jonathan E. Jordan, for appellant.

      Ashley Moody, Attorney General, and Kayla Heather McNab, Assistant
Attorney General, for appellee.


Before EMAS, SCALES and MILLER, JJ.

     PER CURIAM.

     Affirmed.
